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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

             ROBERTO BUSTOS OCAMPO,                     :    MOTION TO VACATE
             Reg. No. 63112-019,                        :    28 U.S.C. § 2255
                   Movant,                              :
                                                        :    CRIMINAL NO.
                      v.                                :    1:11-CR-462-WSD-GGB-2
                                                        :
             UNITED STATES OF AMERICA,                  :    CIVIL ACTION NO.
                 Respondent.                            :    1:14-CV-1726-WSD-GGB

                               FINAL REPORT AND RECOMMENDATION

                      Movant, Roberto Bustos Ocampo, confined in the McRae Correctional

             Institution in McRae, Georgia, has submitted a motion under 28 U.S.C. § 2255 to

             vacate, set aside, or correct sentence by a person in federal custody (“motion to

             vacate”). [Doc. 243]. Respondent has filed a response in opposition. [Doc. 245].

             For the reasons discussed below, I recommend that the motion to vacate be denied.

             I.       Background

                      On May 31, 2012, Movant pleaded guilty to conspiracy to possess with the

             intent to distribute heroin, cocaine, and methamphetamine, in violation of 21 U.S.C.

             §§ 841(b)(1)(A)(i), (b)(1)(A)(ii), & (b)(1)(A)(viii) and 846. [Docs. 122 and 160].

             On December 19, 2012, Movant was sentenced to 120 months of imprisonment

             followed by five years of supervised release. [Doc. 203]. Movant appealed, and on




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             March 19, 2014, the Eleventh Circuit dismissed the appeal pursuant to the appeal

             waiver in Movant’s plea agreement. [Docs. 208 and 241].

                    Movant timely executed his motion to vacate on June 2, 2014. [Doc. 243 at

             6].1 Movant raises the following grounds: (1) Respondent breached the plea

             agreement; (2) the Court abused its discretion in imposing the sentence; (3) the

             sentence violates Movant’s due process rights; and (4) the sentence is illegal. [Id.

             at 4-5].

             II.    28 U.S.C. § 2255 Standard

                    A motion to vacate, set aside, or correct sentence may be made “upon the

             ground that the sentence was imposed in violation of the Constitution or laws of the

             United States, or that the court was without jurisdiction to impose such sentence, or

             that the sentence was in excess of the maximum authorized by law, or is otherwise

             subject to collateral attack . . . .” 28 U.S.C. § 2255(a). “[C]ollateral review is not a


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                      On May 5, 2014, Movant filed a motion for leave to proceed in forma
             pauperis, and that motion is currently pending before the District Judge. [Doc. 242
             at 1]. I note that there is no filing fee for a motion to vacate, and thus Movant need
             not have sought leave to proceed in forma pauperis for that purpose. However,
             Movant also sought a free copy of his plea agreement. [Id. at 2]. Movant was
             apparently able to access the agreement after filing his motion for leave to proceed
             in forma pauperis because he cited the agreement in his brief in support of the
             motion to vacate. [See Doc. 243-2 at 8, 13].

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             substitute for a direct appeal . . . .” Lynn v. United States, 365 F.3d 1225, 1232

             (11th Cir. 2004) (per curiam). Section 2255 relief “is reserved for transgressions of

             constitutional rights and for that narrow compass of other injury that could not have

             been raised in direct appeal and would, if condoned, result in a complete

             miscarriage of justice.” Id. (quoting Richards v. United States, 837 F.2d 965, 966

             (11th Cir. 1988) (per curiam)) (internal quotation marks omitted).

                   “Generally, if a challenge to a conviction or sentence is not made on direct

             appeal, it will be procedurally barred in a 28 U.S.C. § 2255 challenge” unless the

             movant “overcome[s] this procedural default by showing both cause for his default

             as well as demonstrating actual prejudice suffered as a result of the alleged error.”

             Black v. United States, 373 F.3d 1140, 1142 (11th Cir. 2004).2

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                           “[T]o show cause for procedural default, [a § 2255 movant] must show
             that some objective factor external to the defense prevented [him] or his counsel
             from raising his claims on direct appeal and that this factor cannot be fairly
             attributable to [his] own conduct.” Lynn, 365 F.3d at 1235. To demonstrate actual
             prejudice, a movant must show that the alleged error “worked to his actual and
             substantial disadvantage, infecting his entire trial with error of constitutional
             dimensions.” Reece v. United States, 119 F.3d 1462, 1467 (11th Cir. 1997)
             (quoting United States v. Frady, 456 U.S. 152, 170 (1982)). As an alternative to
             showing cause and actual prejudice, a § 2255 movant may overcome a procedural
             default if “a constitutional violation has probably resulted in the conviction of one
             who is actually innocent.” Lynn, 365 F.3d at 1234-35 (quoting Mills v. United
             States, 36 F.3d 1052, 1055 (11th Cir. 1994) (per curiam)) (internal quotation marks
             omitted). “Actual innocence means factual innocence, not mere legal innocence.”

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                    A § 2255 movant “has the burden of sustaining his contentions by a

             preponderance of the evidence.” Tarver v. United States, 344 F. App’x 581, 582

             (11th Cir. 2009) (per curiam) (quoting Wright v. United States, 624 F.2d 557, 558

             (5th Cir. 1980)). The Court need not conduct an evidentiary hearing when “the

             motion and the files and records of the case conclusively show that the prisoner is

             entitled to no relief . . . .” 28 U.S.C. § 2255(b). I determine that an evidentiary

             hearing is not needed because the motion to vacate and the files and records of this

             case conclusively show that Movant is not entitled to relief.

             III.   Discussion

                    A.    Ground One

                    Movant first claims that Respondent breached the provision in the plea

             agreement “to recommend that [Movant] be sentenced at the low end of the

             adjusted [United States Sentencing Guidelines] range.” [Doc. 243 at 4]. This claim

             is procedurally defaulted because Movant did not raise it on direct appeal.3 See



             Id. at 1235 n.18 (internal quotation marks omitted).
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                     Movant’s plea agreement contains an appeal waiver, but the waiver does
             not bar a claim that the agreement was breached. See United States v. Valencia,
             456 F. App’x 875, 877 (11th Cir. 2012) (per curiam) (citing United States v.
             Copeland, 381 F.3d 1101, 1105 (11th Cir. 2004).

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             Brief for Appellant at 1, United States v. Bustos Ocampo, No. 13-10217-DD (11th

             Cir. Dec. 23, 2013). Movant has neither shown cause and actual prejudice, nor has

             he presented proof of actual innocence.

                   Even if Movant had overcome his default, his claim would fail. Movant

             states that his guideline range was 63 to 78 months, but he contends that

             Respondent “asked at sentencing for 120 months . . . .” [Doc. 243 at 4]. As

             Respondent points out, Movant was subject to a statutory minimum sentence of 120

             months. [Doc. 245 at 7-9]. If there had been no statutory minimum, Movant’s

             guideline range would have been 63 to 78 months. [Id.]. However, “[w]here a

             statutorily required minimum sentence is greater than the maximum of the

             applicable guideline range, the statutorily required minimum sentence shall be the

             guideline sentence.” U.S.S.G. § 5G1.1(b). Therefore, Respondent’s sentencing

             recommendation could not have constituted a breach of the plea agreement.

                   B.     Grounds Two, Three, and Four

                   Respondent argues that the appeal waiver in Movant’s plea agreement bars

             grounds two, three, and four. [Doc. 245 at 9-11]. Respondent cites the following

             excerpt of the plea agreement:




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                   LIMITED WAIVER OF APPEAL: To the maximum extent
                   permitted by federal law, the Defendant voluntarily and expressly
                   waives the right to appeal his conviction and sentence and the right to
                   collaterally attack his conviction and sentence in any post-conviction
                   proceeding (including, but not limited to, motions filed pursuant to 28
                   U.S.C. § 2255) on any ground, except that the Defendant may file a
                   direct appeal of an upward departure or a variance from the sentencing
                   guideline range as calculated by the district court.

             [Id. at 4; Doc. 160-1 at 12]. Movant signed the agreement, indicating that he had

             (1) read and understood its terms and conditions, and (2) consented to them. [Doc.

             160-1 at 13, 14].

                   “It is well-settled that sentence-appeal waivers are valid if made knowingly

             and voluntarily.” Williams v. United States, 396 F.3d 1340, 1341 (11th Cir. 2005).

             “[T]he government must show that either (1) the district court specifically

             questioned the defendant concerning the sentence appeal waiver during the [plea]

             colloquy, or (2) it is manifestly clear from the record that the defendant otherwise

             understood the full significance of the waiver.” Id. (quoting United States v.

             Bushert, 997 F.2d 1343, 1351 (11th Cir. 1993)).

                   Respondent cites the following excerpt of the plea colloquy:

                         THE COURT: Now, ordinarily after a sentence is imposed, you
                   could appeal the sentence. But you have reached a provision in your
                   plea agreement in which you basically have given up your rights to
                   challenge your sentence or your conviction, which would happen

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                   today if I accept your plea and find you guilty. You have agreed
                   basically not to challenge it in any way.
                          And there are actually two ways you can generally challenge in
                   the absence of a plea agreement your conviction or your sentence. One
                   is by an appeal which would immediately follow your sentencing, and
                   one is by what we call a collateral attack, which is a separate lawsuit
                   that’s filed if your appeal has been unsuccessful.
                          You have said that you are not going to do either of those two
                   things, that you are not going to challenge in any way your conviction
                   and you are not going to challenge in any way your sentence. . . . Do
                   you understand that?
                          DEFENDANT BUSTOS OCAMPO: Yes.

             [Doc. 245 at 5-6; see also Doc. 232 at 31-32]. That excerpt shows that the District

             Court specifically questioned Movant concerning the sentence appeal waiver, and

             Movant indicated that he understood. Therefore, Movant knowingly and

             voluntarily waived his right to appeal and collaterally attack his conviction and

             sentence.

                   As Respondent also points out, Movant cannot challenge his appeal waiver

             because the Eleventh Circuit has upheld it. [Doc. 245 at 11]. “[O]nce a matter has

             been decided adversely to a defendant on direct appeal it cannot be re-litigated in a

             collateral attack under section 2255.” United States v. Nyhuis, 211 F.3d 1340, 1343

             (11th Cir. 2000) (quoting United States v. Natelli, 553 F.2d 5, 7 (2d Cir. 1977)).

             Accordingly, the waiver bars grounds two, three, and four in Movant’s motion to



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             vacate, regarding (1) the Court’s alleged abuse of discretion in imposing the

             sentence (ground two), and (2) the constitutionality and legality of the sentence

             (grounds three and four).

             IV.    Certificate of Appealability (COA)

                    Pursuant to Rule 11(a) of the Rules Governing Section 2255 Proceedings,

             “[t]he district court must issue or deny a certificate of appealability when it enters a

             final order adverse to the applicant. . . . If the court issues a certificate, the court

             must state the specific issue or issues that satisfy the showing required by 28 U.S.C.

             § 2253(c)(2).” Section 2253(c)(2) states that a certificate of appealability may issue

             “only if the applicant has made a substantial showing of the denial of a

             constitutional right.” A substantial showing of the denial of a constitutional right

             “includes showing that reasonable jurists could debate whether (or, for that matter,

             agree that) the [motion to vacate] should have been resolved in a different manner

             or that the issues presented were adequate to deserve encouragement to proceed

             further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000) (internal quotation marks

             omitted).

                    When the district court denies a [motion to vacate] on procedural
                    grounds without reaching the prisoner’s underlying constitutional
                    claim . . . a certificate of appealability should issue only when the

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                   prisoner shows both that jurists of reason would find it debatable
                   whether the [motion] states a valid claim of the denial of a
                   constitutional right and that jurists of reason would find it debatable
                   whether the district court was correct in its procedural ruling.

             Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (citing Slack, 529 U.S. at

             484) (internal quotation marks omitted).

                   A COA should be denied because the resolution of the issues presented is not

             debatable. If the Court adopts this recommendation and denies a COA, Movant is

             advised that he “may not appeal the denial but may seek a certificate from the court

             of appeals under Federal Rule of Appellate Procedure 22.” 28 U.S.C. foll. § 2255,

             Rule 11(a).

             V.    Conclusion

                   Based on the foregoing, I RECOMMEND that the motion to vacate

             [Doc. 243] be DENIED and a certificate of appealability be DENIED.

                   The Clerk is DIRECTED to terminate the referral of the § 2255 motion to

             me.




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                 IT IS SO RECOMMENDED, this           4th   day of   August   , 2014.




                                              GERRILYN G. BRILL
                                              UNITED STATES MAGISTRATE JUDGE




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